          Case 2:21-cv-04920-WLH-ADS                          Document 236              Filed 12/12/22             Page 1 of 5 Page ID
Name and address:
                                                                   #:4298
                         Benjamin Sadun
                          DECHERT LLP
                 US Bank Tower, 633 West 5th Street
                    Los Angeles, CA 90071-2013

                                                  UNITED STATES DISTRICT COURT
                                                 CENTRAL DISTRICT OF CALIFORNIA

                                                                                CASE NUMBER
SERENA FLEITES,
                                                              Plaintiff(s),                             2:21-cv-4920-CJC-ADS

                   v.
                                                                                   APPLICATION OF NON-RESIDENT ATTORNEY
MINDGEEK S.A.R.L., et al.                                                                TO APPEAR IN A SPECIFIC CASE
                                                           Defendant(s),                        PRO HAC VICE
INSTRUCTIONS FOR APPLICANTS
(1) The attorney seeking to appear pro hac vice must complete Section I of     of this Application, personally sign, in ink, the certification in
    Section II, and have the designated Local Counsel sign in Section III. ELECTRONIC SIGNATURES ARE NOT ACCEPTED. Space to
    supplement responses is provided in Section IV. The applicant must also attach a Certificate of       of Good Standing (issued within the last 30
          from every state bar to which he or she is admitted;failure
    days) from                                                    failure to do so will be groundsforfor denying the Application. Scan the
    completed Application with its original ink signature, together with any attachment(s), to a single Portable Document Format (PDF) file.            file.
(2) Have the designated Local Counsel filefile the Application electronically using the Court's electronic filing
                                                                                                              filing system ("Motions and Related
    Filings => Applications/Ex Parte Applications/Motions/Petitions/Requests => Appear Pro Hac Vice (G-64)"),      (G-64)'9, attach a Proposed Order
    (using Form G-64 ORDER, availablefrom    from the Court's website), and pay the required $500fee   fee online at the time ofof filing
                                                                                                                                   filing (using a credit
    card). The fee
                fee is required for
                                for each case in which the applicantfiles
                                                                       files an Application. Failure to pay the feefee at the time of  filing will be
                                                                                                                                    offiling
             for denying the Application. Out-of-state federal
    grounds for                                           federal government attorneys are not required to pay the $500fee.         fee. (Certain
               for the United States are also exempt from
    attorneys for                                     from the requirement of   of applyingfor
                                                                                            for pro hac vice status. See L.R. 83-2.1.4.) A copy of    of the
    G-64 ORDER in Word or WordPerfect format   format must be emailed to the generic chambers email address. L.R. 5-4.4.2.
SECTION I - INFORMATION
Michelle H. Yeary
Applicant's Name (Last Name, First Name &
                                        et. Middle Initial)                                               check here if federal government attorney El
                                                                                                                     iffederal
Dechert LLP
Firm/Agency Name
Cira Centre                                                                   609-955-3277                              215-994-2222
2929 Arch Street                                                              Telephone Number                          Fax Number
Street Address
Philadelphia, PA 19104-2808                                                                         michelle.yeary@dechert.com
City, State, Zip Code                                                                                       E-mail Address

I have been retained to represent the following parties:
MindGeek S.a.r.l.                                                                Plaintiff(s)
                                                                                 Plaintiffs)    ✘   Defendant(s)       Other:
MG Freesites Ltd                                                                 Plaintiff(s)
                                                                                 Plaintiffs)    ✘   Defendant(s)       Other:
        of Party(ies) Represented
Name(s) of

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

                        of Court
                   Name of                                         of Admission
                                                              Date of                     Active Member in Good Standing? (if
                                                                                                                          (if not, please explain)
New Jersey                                                       3/11/1996               Yes
Pennsylvania                                                      1/24/1996              Yes
U.S.D.C. for the District of New Jersey                           1/1/1996               Yes


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                                                             #:4299

List all cases in which the applicant has applied to this Court for pro hac vice status in the previous three years (continue in Section IV if
needed):
        Case Number                                     Title of Action                            Date_ofApplication        Granted / Denied?
2:22-CV-01016                         Doe v. MindGeek USA Incorporated, et al.                    12/7/2022                Pending




If any pro hac vice applications submitted within the past three (3) years have been denied by the Court, please explain:




Attorneys must be registered for the Court's electronic filing system to practice pro hac vice in this Court. Submission
of this Application will constitute your registration (or re-registration) to use that system. If the Court signs an Order
granting your Application, visit www.pacer.gov to complete the registration process and activate your e-filing
privileges in the Central District of California.

           SECTION II - CERTIFICATION

           I declare under penalty of perjury that:

           (1) All of the above information is true and correct.
           (2) I am not a resident of the State of California. I am not regularly employed in, or engaged in
               substantial business, professional, or other activities in the State of California.
           (3) I am not currently suspended from and have never been disbarred from practice in any court.
           (4) I am familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and
               Criminal Procedure, and the Federal Rules of Evidence.
           (5) I designate the attorney listed in Section III below, who is a member in good standing of the Bar
               of this Court and maintains an office in the Central District of California for the practice of law, in
               which the attorney is physically present on a regular basis to conduct business, as local counsel
               pursuant to Local Rule 83-2.1.3.4.

               Dated 12/7/2022                                       Michelle Hart Yeary
                                                                     Applicant's Name (please type or print)


                                                                     Applicant's Signature


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                                                         #:4300


 SECTION III - DESIGNATION OF LOCAL COUNSEL

 Bejamin Sadun
 Designee's Name (Last Name, First Name ef. Middle Initial)
 Dechert LLP
 Firm/Agency Name
 US Bank Tower                                                    213-808-5721                            213-808-5760
 633 West 5th Street                                              Telephone Number                        Fax Number
 Street Address                                                   benjamin.sadun@dechert.com
 Los Angeles, CA 90071-2013                                       Email Address
 City, State, Zip Code                                            287533
                                                                  Designee's California State Bar Number

I hereby consent to the foregoing designation as local counsel, and declare under penalty of perjury that I maintain an office in the
Central District of California for the practice of law, in which I am physically present on a regular basis to conduct business.
               Dated 12/7/2022                                    Benjamin Sadun
                                                                  Designee's Name (please type or print


                                                                 Designee's Signature
SECTION IV - SUPPLEMENT ANSWERS HERE (ATTACH ADDITIONAL PAGES IF NECESSARY)

  SECTION I -- Additional Parties Represented:

  MindGeek USA Incorporated -- Defendant
  MG Premium Ltd -- Defendant
  MG Global Entertainment Inc. -- Defendant
  9219-1568 Quebec Inc. -- Defendant

  SECTION I -- Additional Courts of Admission:

  U.S.D.C. for the Eastern District of Pennsylvania -- 1996-- Yes
  U.S. Court of Appeals for the Third Circuit -- 8/27/1996 -- Yes
  U.S.D.C. for the Eastern District of Michigan -- 12/11/2018 -- Yes




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                                         #:4301




                               )ttprEllte Court of      Pnii5plbania




                           CERTIFICATE OF GOOD STANDING

                                  Michelle Hart Yeary, Esq.

                                       DATE OF ADMISSION

                                         January 24, 1996




            The above named attorney was duly admitted to the bar of the Commonwealth of
                    Pennsylvania, and is now a qualified member in good standing.




                                                     Witness my hand and official seal
                                                         Dated: November 17, 2022



                                                                cia A. Johnson
                                                                Chief Clerk
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                                              #:4302
                 mare= court of ,metro 3ers'ep



                Certificate of                          oob 12:4Z taubtug
               This is to certib that                    Michelle Hart Yeary
                    029251995      ) was constitutedand appointed an Attorney at Law of New
        Jersey on                March II, 1996                                  and, as such,
        has been admitted to practice before the Supreme Court and adother courts of this State
        as an Attorney at Law, according to its laws, rules, and customs.

               Ifurther cent i5 that as of this date, the above-named is an Attorney at Law in
        goodStanding. For the purpose of this Certificate, an attorney is in "good-Standing" if
        the Court's records reflect that the attorney: 1) is current with all-assessments imposedas a
        part of the filing of the annual   -Attorney Wegistration Statement, including, but not
        limited to, all-obligations to the New Jersey Lawyers' Fundfor Client Protection; 2) is not
        suspended or disbarredfrom the practice of raw; 3) has not resigrzedfrom the Bar of this
        State; and4) has not been transferredto Disability Inactive status pursuant to (ale 1:20-
        12.

               Please note that this Certificate does not constitute confirmation of an attorney's
        satisfaction of the administrative requirements of the 1:21-1(a)for eligibility to practice
        law in this State.

                                                          In testimony whereof; I have
                                                          hereunto set my handand
                                                          eked the Sear of the
                                                          Supreme Court, at Trenton, this
                                                          5th day of       December , 2022




                                                                   Crerk of th   1preme Court
                                                                                                 -453a-
